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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                     CASE NO. 16-CR-20549-SCOLA/OTAZO-REYES (s)(s)(s)


   UNITED STATES OF AMERICA

   vs.

   PHILIP ESFORMES,
   ODETTE BARCHA, and
   ARNALDO CARMOUZE,

                            Defendants.
                                             /

                              WITNESS LIST OF THE UNITED STATES


   The United States of America hereby files this Witness List:

         1. Margerita Acevedo

         2. Idowa Adekambi

         3. Jerome Allen

         4. Michael Baldwin

         5. Rolando Barrueco

         6. Eddie Bellew

         7. Bertha Blanco

         8. Geoff Bond

         9. Michael Brown

         10. Robert Calhoun

         11. Ricardo Carcas

         12. Ingrid Chin

         13. David Cifu
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      14. Kimberly Coffey

      15. Tasheeba Cooper

      16. Carlos Costello

      17. Nery Cowan

      18. Arlene Mayo Davis

      19. Roberto Del Cristo

      20. Gabriel Delgado

      21. Guillermo Delgado

      22. Marta Delgado

      23. Kansky Delisma

      24. Sheyla Dozier

      25. Alethea Duncan

      26. Bernadette Edge

      27. Eric Furda

      28. Raven Ervin

      29. Raquel Fernandez

      30. Venus Fernandez

      31. Scott Foley

      32. Barbara Fulton

      33. Mario Gonzalez

      34. Borinquen Hall

      35. Stephanie Jones

      36. Sarah Belema Josiah



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      37. Robert Kieckhefer

      38. Alex Leon

      39. Scott Lindsey

      40. Isabel Lopez

      41. Robert Lopez

      42. Anton Marchand

      43. Elizabeth Martin

      44. Demetrius McDaniel

      45. Michael Mendoza

      46. Jose Carlos Morales

      47. Roberto Morales

      48. Gustavo Mustelier

      49. Mark Myers

      50. Daniela Nguyen

      51. Guerlye Lubin Nicolas

      52. Franciso Palacios

      53. Melanie Perkins

      54. Timothy Perkins

      55. Noel Perez

      56. Michael Petron

      57. Stephen Quindoza

      58. Terence Reilly

      59. Javier Ricardo



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      60. Concha Ojeda Roberts

      61. Alden Roque

      62. Maria Ruiz

      63. Aida Salazar

      64. Nelson Salazar

      65. Jose Subias

      66. Betty Service

      67. Alanna Shanahan

      68. Meryl Smith

      69. Melody Sparrow

      70. Suzanne Sutton

      71. Ada Maxine Thomas

      72. Diane Tyree

      73. Erika Underwood

      74. Mary Valera

      75. Guido Jose Van Hemelryck

      76. Matt Valenti

      77. Sorina Virjoghe

      78. Jill Lander Yorn

      79. Medicaid Representative




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   Dated: January 4, 2019             Respectfully submitted,

                                      SANDRA MOSER, ACTING CHIEF
                                      CRIMINAL DIVISION, FRAUD SECTION
                                      U.S. DEPARTMENT OF JUSTICE

                                      ARIANA FAJARDO ORSHAN
                                      UNITED STATES ATTORNEY

                               By:    s/ Elizabeth Young
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                                   CERTIFICATE OF SERVICE

          I hereby certify that, on January 4, 2019, a true and correct copy of the foregoing was

   filed and served on all counsel of record via the CM/ECF system.


                                                s/ Elizabeth Young
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